           Case 4:24-cr-00136-DC Document 8 Filed 05/13/24 Page 1 of 1
                                                                                                         FILED
                                                                                                       May 13, 2024
                                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                                   WESTERN DISTRICT OF TEXAS

                                                                                                          Yvette Lujan
                             UNITED STATES DISTRICT COURT
                                                                                               BY: ________________________________
                                                                                                                       DEPUTY

                               WESTERN DISTRICT OF TEXAS, PECOS DIVISION



USA                                               §
                                                  §
vs.                                               §       NO: PE:24-CR-00136(1)-DC
(1) Douglas Christopher Steele                    §


                                       MOTION TO DETAIN
The United States Attorney moves the court to detain the above named defendant under the provisions
of Title 18, United States Code, Section 3142(d) and/or (f) for the following reasons:

_____1.   A serious risk exists that the Defendant(s) will flee if released on bail;
_____2.   The Defendant(s) will pose a danger to the community;
_____3.   A serious risk exists that the defendant will obstruct or attempt to obstruct justice;

_____4.  This case involves a crime of violence in which the defendant participated or aided
         and abetted;
_____5. This case involves an offense for which the maximum sentence is life
         imprisonment or death;
_____6. This case involves an offense for which a maximum term of imprisonment of ten
         years or more is prescribed in the Controlled Substances Act, the Controlled
         Substances Import and Export Act, or the Maritime Drug Law Enforcement Act;
_____7. This case involves a felony and the defendant has been convicted of two or more
         offenses described in paragraphs 3, 4, and 5;
_____8. The defendant was, at the time of the offense, on release pending trial on a felony
         and may flee;
_____9. The defendant was, at the time of the offense, on release pending imposition,
         execution, or appeal of a sentence for an offense and may flee; or
_____10. The defendant was at the time of the offense, on probation or parole and may flee;

_____11. The defendant is not a citizen of the United States or is not lawfully admitted for
         permanent residence as defined in section 101(a)(20) of the Immigration and
         Nationality Act (8 U.S.C. 1101 (a)(20) and may flee.

The United States Attorney moves the court to continue the detention hearing to enable the
government to prepare evidence, to ensure the appearance of the United States Attorney at the
detention hearing, and to allow time for the defendant's consultation with his attorney.

Wherefore, premises considered, the United States Attorney prays that a detention hearing
be granted and that detention be granted.

                                                                 Jaime Esparza,
                                                                  United States Attorney


                                                         Assistant United States Attorney
